Filed 8/27/24 Clement v. Jaworski CA1/5

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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         FIRST APPELLATE DISTRICT

                                    DIVISION FIVE

 DENNIS A. CLEMENT,
            Plaintiff and Respondent,                             A168403
 v.
 PAUL B. JAWORSKI,                                                (Solano County Super. Ct. No.
            Defendant and Appellant.                              FCS055772)


      This case concerns a dispute between adjacent landowners
over the scope of an access easement burdening property owned
by Paul B. Jaworski and Elaine M. Jaworski.1 Paul alone
appeals (in pro per) from a judgment entered partially in favor of
his neighbors and easement holders, Dennis A. Clement and
Erica L. Clement, following a court trial. Paul contends the trial
court erred by construing the easement for ingress and egress to
include a right to transitory parking. We disagree and affirm the
judgment.

                                      BACKGROUND

                                               A.

      An easement gives someone other than the property owner
a restricted right to a specific use or activity on another’s
property. (Scruby v. Vintage Grapevine, Inc. (1995) 37

        To avoid confusion, we refer to the individual parties by
        1

first name only.
                                                1
Cal.App.4th 697, 702 (Scruby).) “The land to which an easement
is attached is called the dominant tenement; the land upon which
a burden or servitude is laid is called the servient tenement.”
(Civ. Code, § 803.)2

                                  B.

      The Clements and the Jaworskis own adjacent 2.5 acre
parcels of land and single-family homes, in rural Solano County.
The only access to the Clements’ landlocked property, which lies
immediately to the east of (and downhill from) the Jaworskis’, is
provided by an easement across the Jaworskis’ property, which
was deeded by the parties’ predecessors in 1978.

      Specifically, the Clements’ recorded deed provides that they
are granted “[a] non-exclusive easement for ingress, egress and
private utility purposes . . . above[,] over, under and across that
certain proposed 50 feet Private Access Utilities Easement, as
shown on Parcel B4A [the Jaworskis’ property] per Parcel Map,
Book 12, Page 87, filed on May 17, 1977, Solano County Records.”
The referenced parcel map describes the easement as being 50
feet wide and approximately 370 feet long, refers to the
construction of a 12-foot wide road therein, and further states,
“Said private road and utilities easements shall be for the
purpose of ingress thereto and egress therefrom, and construction
and maintenance of public utilities.”

      The easement is in the shape of an L—its long (roughly
302-foot) section travels diagonally across the middle of the
servient tenement (the Jaworskis’ property) and its short portion
turns due east for the final 68 feet to the shared property line—
where the Clements’ driveway begins. The easement is partially
paved with a “one-lane” road.




      2   Undesignated statutory references are to the Civil Code.
                                   2
       The initially amicable relationship between the Clements
and the Jaworskis began to deteriorate in November 2019, when
the Clements arranged (unbeknownst to the Jaworskis) for
delivery of several truckloads of gravel—for purported repair of
the access road. After being awoken by the sound of heavy trucks
on the easement, the Jaworskis found a large pile of rocks and
dirt at the southeast corner of the unpaved portion of the
easement, that a couple of trees on their property (outside the
easement) had been cut down, and that new plants had been
planted in the same area. The rocks and dirt were used to build
up both the northern and southern unpaved sides of the
easement so that they became level with the paved road.

       After this incident, the Jaworskis stored a blue truck, a
white sedan, a child’s play structure, and later a large trampoline
at the southeastern end of the recorded easement—within its 50-
foot boundaries but not on the paved road—between a propane
tank and the Clements’ driveway and property line. Dennis
testified that the Jaworskis’ storage of these items within the
boundaries of the recorded easement, and near the Clements’
driveway, interfered with and unreasonably obstructed their
access rights because delivery vehicles could no longer use that
area to turn around—which led to several becoming stuck
elsewhere—and because their guests could no longer park there.

      In November 2020, the Jaworskis also erected an orange-
colored fence along the northern boundary of the recorded
easement. Paul testified that he did this to prevent vehicles from
leaving the easement and entering their private property to turn
around.

                                C.

       In December 2020, the Clements filed an action for
declaratory and injunctive relief against the Jaworskis, alleging
(as relevant to this appeal) causes of action for interference with
an express easement and nuisance. The Jaworskis answered and
                                 3
filed a cross-complaint, which alleges quiet title, trespass, and
property damage/vandalism causes of action. The Jaworskis
contended that their placement of vehicles and other items
within the easement did not interfere with any of the Clements’
rights. The Jaworskis’ cross-complaint also sought a declaration
that the Clements’ access rights are limited to the 12-foot-wide
paved portion of the easement.3

       The case proceeded to a bench trial, at which the court
heard evidence consistent with the above background and made a
visit to the properties. In a detailed statement of decision, the
court found in favor of the Clements on their causes of action for
interference with an express easement and for nuisance. With
respect to the Jaworskis’ cross-complaint, the trial court found in
their favor on their trespass claim,4 but against them on all
remaining causes of action. The trial court entered judgment in
the Clements’ favor in part and in the Jaworskis’ favor in part.

       The court granted the following declaratory relief: “[T]he
court finds that [the Clements] have use of the entire 50-foot
width of the recorded easement for access and utility purposes,
and that this right includes secondary rights for transitory
parking and turning around by them and their invitees or
licensees within the portion of the easement east of the
[Jaworskis’] propane tank. The paved portion of the recorded
easement neither narrows nor constrains [the Clements]’ access
rights. [The Jaworskis] shall not unreasonably interfere with,
impede or block [the Clements]’ use of the recorded easement for
those purposes, or such use by their invitees or licensees.”
(Italics added.)


      3 It is unclear whether the Jaworskis conceded this point
before trial.
      4 Although it is not relevant to this appeal, the court also

resolved causes of action seeking to quiet title to a purported
prescriptive easement in the Jaworskis’ favor.
                                  4
                           DISCUSSION

                                 A.

       Paul does not challenge the trial court’s finding that his
storage of large items in the southeast unpaved portion of the
easement constituted unreasonable interference with the
Clements’ access rights. Instead, he maintains that the trial
court erred, as a matter of law, in construing the easement
broadly enough to include a right to transitory parking. We
reject Paul’s claim of legal error. (See Pear v. City and County of
San Francisco (2021) 67 Cal.App.5th 61, 71 (Pear) [“[w]e exercise
our independent judgment to interpret the language of a deed,
and we review for substantial evidence the trial court’s resolution
of any conflicting extrinsic evidence”].)

                                 1.

       “The extent of rights granted by conveyance of an easement
is determined by the language of the grant where extrinsic
evidence is not received.” (City of Los Angeles v. Ingersoll-Rand
Co. (1976) 57 Cal.App.3d 889, 894; see § 806; Pasadena v.
California--Michigan Land &amp; Water Co. (1941) 17 Cal.2d 576,
579 (Pasadena).) If the language of conveyance is clear and
explicit, the court need not resort to use of parol evidence to show
the nature and extent of the rights acquired. Resolution of such
an issue is a question of law, which we review de novo in the
absence of conflicting extrinsic evidence. (Keeler v. Haky (1958)
160 Cal.App.2d 471, 474.) However, “[w]hen there is any
ambiguity or uncertainty about the scope of an easement grant,
the surrounding circumstances, including the physical conditions
and character of the servient tenement and the requirements of
the grantee, play a significant role in the determination of the
controlling intent.” (Scruby, supra, 37 Cal.App.4th at p. 705.)




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                                 2.

       The trial court did not err. The relevant question is
whether a right to transitory parking is included within the
express easement grant or is a necessary incident thereto. (See
Pasadena, supra, 17 Cal.2d at p. 579.) “ ‘Every easement
includes . . . the right to do such things as are necessary for the
full enjoyment of the easement itself.’ ” (Locklin v. City of
Lafayette (1994) 7 Cal.4th 327, 356, fn. 17.) “Incidental or
secondary easement rights are limited by a rule of reason.”
(Dolnikov v. Ekizian (2013) 222 Cal.App.4th 419, 428). Such
rights must be exercised in a reasonable manner so “ ‘as not to
injuriously increase the burden on the servient tenement.’ ”
(Locklin, at p. 356, fn. 17.)

       True, the plain meaning of “ingress” and “egress” is
“entrance” and “exit.” (Merriam-Webster Dict. Online (2024)
&lt;https://www.merriam-webster.com/dictionary/ingress&gt; &amp;
&lt;https://www.merriam-webster.com/dictionary/egress&gt; [as of
August 27, 2024]; see also Schmidt v. Bank of America, N.A.
(2014) 223 Cal.App.4th 1489, 1500-1501 [rights of ingress and
egress mean the property owner has a right of access to their
property via the easement].) And Paul is correct that the deeded
easement says nothing about parking. But this is far from
conclusive. (See Pear, supra, 67 Cal.App.5th at p. 77 [“[p]arking
is allowed on the pipeline property only to the extent it is incident
to the uses which are authorized . . . because parking is not
among the expressly authorized uses”].) When an easement is
based on an express grant, “only those interests expressed in the
grant and those necessarily incident thereto pass from the owner
of the fee.” (Pasadena, supra, 17 Cal.2d at p. 579, italics added.)

      An easement for a roadway grants a “right of unobstructed
passage to the holder of the easement.” (Scruby, supra, 37
Cal.App.4th at p. 703.) It also includes “as necessary incidents
thereto the reasonable use of the easement by each party for such

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transitory parking as will not interfere with the rights of the
other.” (Heath v. Kettenhofen (1965) 236 Cal.App.2d 197, 204.)
Paul does not persuade us that there is any real difference
between a roadway easement and the ingress/egress easement
involved in this case. (See Pear, supra, 67 Cal.App.5th at p. 78
[some incidental and temporary parking is normally allowed as
ancillary to authorized movement of vehicles in and out of a
particular location]; Keeler v. Haky, supra, 160 Cal.App.2d at p.
476 [recognizing “occasional or temporary parking . . . normally
accompanies the movement of vehicles in and out of . . . a
location” but holding access easement did not give dominant
tenement right to use as permanent parking lot]; Hucke v. Kader
(1952) 109 Cal.App.2d 224, 225, 229 [ingress/egress easement].)

      Here, there is nothing in the express language of the deed
that supports Paul’s attempt to read in any additional limitation
(beyond reasonableness) on this secondary right. In fact, the
deed expressly states that the easement is 50 feet wide. An
average sized car could easily be parked on the side of the 12-foot
wide roadway while leaving sufficient room for other cars to pass.
The trial court’s site visit appears to have confirmed as much.

       After exercising our independent judgment, we conclude
the trial court did not err in recognizing that reasonable
transitory parking is “necessarily incident” to the Clements’
enjoyment of their express rights to ingress and egress.

                                B.

      Paul also challenges the scope of injunctive relief—granted
in the Clements’ favor on their nuisance cause of action—as
overbroad. The trial court ordered: “[The Jaworskis] shall
forthwith remove the blue truck, the white sedan and the
trampoline from the portion of the recorded easement that
continues to the east of the propane tank on their property, and
are hereafter and forever restrained from placing any vehicles,
trampolines, play structures, or other items of personal property
                                 7
within the entire fifty-foot width of that portion of the recorded
easement.”

      Although his argument is not particularly clear, it appears
that Paul believes the trial court’s grant of injunctive relief
deprives him of any meaningful use of the southeastern portion of
the easement. In response, Dennis concedes that his own right to
use the easement for “transitory, intermittent and occasional”
parking is not exclusive and that the Jaworskis may still use this
portion of their property so long as they are not storing personal
property there. (See Pasadena, supra, 17 Cal.2d at p. 579
[“despite the granting of an easement, the owner of the servient
tenement may make any use of the land that does not interfere
unreasonably with the easement”], italics added; Heath v.
Kettenhofen, supra, 236 Cal.App.2d at p. 204 [“[t]he rights of the
parties in and to the easement, for roadway purposes, are
coexisting and equal, and . . . these rights embrace as necessary
incidents thereto the reasonable use of the easement by each party
for such transitory parking as will not interfere with the rights of
the other”], italics added.)

       Given Dennis’s concession, there does not appear to be
much force in Paul’s argument. In any event, we need not
address it further as Paul forfeits it by failing to cite any legal
authority in support. (See Lee v. Kim (2019) 41 Cal.App.5th 705,
721 [“ ‘ “[w]hen an appellant fails to raise a point, or asserts it but
fails to support it with reasoned argument and citations to
authority, we treat the point as [forfeited]” ’ ”].) It is not our role
to develop an appellant’s argument for them. (Ibid.)

                            DISPOSITION

      The judgment is affirmed. Respondent is entitled to his
costs on appeal. (Cal. Rules of Court, Rule 8.278(a)(1), (2).)




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                                    BURNS, J.
WE CONCUR:


JACKSON, P.J.
CHOU, J.

Clement v. Jaworski (A168403)




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